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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                            Criminal No. 21-108 (PAM/TNL)

 UNITED STATES OF AMERICA,                      )
                                                )
                       Plaintiff,               )
                                                )   GOVERNMENT’S MOTION TO
               v.                               )   EXCLUDE DEFENDANT KUENG’S
                                                )   EVIDENCE NOTICED PURSUANT
 3. J. ALEXANDER KUENG,                         )   TO FED. R. EVID. 404 AND 406
                                                )
                       Defendant.               )


       COMES NOW the United States of America, by and through its undersigned

attorneys, Charles J. Kovats, Jr., Acting United States Attorney for the District of

Minnesota; Manda M. Sertich, Assistant U.S. Attorney; and Samantha Trepel, Special

Litigation Counsel for the Civil Rights Division, and responds to defendant Kueng’s Notice

Pursuant to Federal Rules of Evidence 404 and 406. On January 6, 2022, defendant Kueng

provided notice of his intent to offer, pursuant to Federal Rules of Evidence 404 and 406,

evidence relating to two 2019 police stops at which Mr. Floyd was present. ECF No. 171.

The government objects to the admission of this evidence because it does not comply with

either the requirements of Rules 404 or 406; it is irrelevant; and it poses a substantial danger

of unfair prejudice and confusion of the issues.

                         I. Procedural History and Factual Background

       Defendant Kueng has provided notice of his intent to offer, pursuant to Federal

Rules of Evidence 404 and 406, evidence relating to events on May 6, 2019, and August

6, 2019. On both of those occasions, officers from the Minneapolis Police Department
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detained George Floyd in a police car. Defendant Kueng states that he plans to offer

evidence about both incidents to demonstrate “that Mr. Floyd . . . does not have the

pertinent trait of claustrophobia,” and to “prove a common scheme or plan, and modus

operandi.” ECF No. 171 at 1-2. Defendant Kueng does not identify the form this evidence

will take; however, his witness list includes four witnesses present during the stops, and

his exhibit list includes body worn camera video from both incidents, see ECF Nos. 174 &

175 (Exs. 9 &10).

       During the incident on May 6, 2019, MPD officers stopped a car in which Mr. Floyd

was a passenger. According to the police reports, Mr. Floyd was “acting extremely

nervous.” He appeared to the officers to be intoxicated, told them that he had recently

taken multiple pills, and began crying. The officers found oxycodone pills on Mr. Floyd

and observed him swallowing something. The officers determined that medical personnel

should assess him because he had dilated pupils, was slurring his speech, and was having

difficulty responding to questions. The officers called an ambulance for Mr. Floyd, and he

was taken to the hospital. He was not charged with any offense as a result of this incident.

       According to the MPD report related to the August 6, 2019, investigatory stop, an

MPD officer received information from a confidential informant alleging that if MPD

officers searched a certain black Crown Victoria, they would find a firearm. MPD officers

located the car, which was parked, and spoke to the car’s owner. The owner allowed the

officers to search the car, and as the officers noted in their report, “[n]o items were located

inside the vehicle.” During the brief investigation, MPD officers detained the car’s owner

and three others who were present: George Floyd and two women.                    During this

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investigatory detention, the officers placed Mr. Floyd in the squad car, and he stated that

he was claustrophobic. Defendant Kueng acknowledges this statement, but asserts without

support that Mr. Floyd was “clearly not suffering claustrophobia.” ECF No. 171 at 1.

                                      II. Argument

       The government objects to the admission of evidence relating to events on May 6,

2019, and August 6, 2019. The proffered evidence is inadmissible under Federal Rules of

Evidence 404 and 406 because it does not relate to a pertinent trait, is offered in an

inadmissible form, does not constitute habit evidence, and is irrelevant. This evidence is

also inadmissible under Federal Rule of Evidence 403, because it poses a substantial danger

of unfair prejudice, confusing the issues, misleading the jury, and wasting time.

       Under Federal Rule of Evidence 404(a)(2)(B), a defendant may offer evidence of a

victim’s pertinent trait. Defendant Kueng asserts that he is offering evidence about two

prior police interactions to prove that Mr. Floyd lacks the trait of claustrophobia. This

evidence is not relevant to a pertinent trait, as required by Rule 404, because whether or

not Mr. Floyd was claustrophobic makes it no more or less likely that defendant Kueng

willfully failed to intervene to stop Officer Chauvin’s use of excessive force against Mr.

Floyd, nor that defendant Kueng willfully failed to provide medical aid to Mr. Floyd on

May 25, 2020.

       Even if Mr. Floyd’s alleged trait of lacking claustrophobia was pertinent (assuming,

arguendo, that a diagnosable anxiety disorder can be considered a “trait” under the Rule—

and assuming lay witnesses are qualified to establish the absence of such a condition), the

proposed evidence relating to it is inadmissible pursuant to Rule 405(a) because it does not

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take the form of “testimony about the person’s reputation” or “testimony in the form of an

opinion” as Rule 405(a) requires. Fed. R. Evid. 405(a). Because Mr. Floyd’s character is

not an essential element to a charge, claim, or defense under 18 U.S.C. § 242, it may not

be proved by specific instances of conduct under Rule 405(b). Instead, even if evidence of

Mr. Floyd’s lack of claustrophobia were admissible, “proof may be made by testimony as

to reputation or by testimony in the form of an opinion.” United States v. Drapeau, 644

F.3d 646, 654 (8th Cir. 2011) (quoting Fed. R. Evid. 405(a)) (affirming district court’s

exclusion of evidence of a victim’s aggression to support a self-defense claim because it

was not offered in the proper form of reputation or opinion testimony).

       Evidence of the two police stops is also inadmissible under Federal Rule of

Evidence 404(b). ECF No. 171 at 1. Defendant Kueng asserts that the evidence establishes

a “common scheme or plan, and modus operandi,” although he does not describe what this

scheme or modus operandi is. Regardless, Mr. Floyd’s physiological or verbal response to

being seated inside a police car is entirely irrelevant because it does not make any element

of the charges against defendant Kueng any more or less likely. The charges against

defendant Kueng center on the actions he took and failed to take after the defendants placed

Mr. Floyd on the ground and during the more than nine-minute restraint that followed. The

thought process underlying Mr. Floyd’s reaction to being placed inside the squad car on

May 25, 2020—and whether or not he suffered from claustrophobia at that point—do not

change how Mr. Floyd reacted on that date, and say nothing about whether defendant

Kueng’s failure to intervene to stop Officer Chauvin’s excessive force and failure to



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provide Mr. Floyd medical aid once Mr. Floyd was outside the police car did or did not

violate the Constitution.

       Likewise, even if they were relevant, the two incidents defendant Kueng seeks to

admit do not constitute habit evidence pursuant to Federal Rule of Evidence 406. First,

two instances of conduct fail to establish a habit. The Advisory Committee Notes on Rule

406 explain that a habit is conduct so frequent that it “may become semi-automatic” such

as “going down a particular stairway two stairs at a time, or . . . giving the hand-signal for

a left turn.” Notes of Advisory Committee on Proposed Rules. “Although there is no

precise formula for determining when conduct is so consistent as to become a habit,

adequacy of sampling and uniformity of response are controlling considerations.” United

States v. Jones, 2015 WL 1020811, at *2 (D. Minn. Mar. 9, 2015) (admitting evidence

pursuant to Rule 406 that the victim “frequently and regularly fell asleep with a lit cigarette

when she was inebriated,” and that this occurred two or three times per week for over 15

years) (internal quotation marks omitted); cf. In re Viagra Prods. Liability Litig., 658 F.

Supp. 2d 950, 966 (D. Minn. 2009) (holding that three letters from the FDA to Pfizer were

inadmissible because “[t]hree letters are not enough to show a habit under Federal Rule of

Evidence 406”). The two instances defendant Kueng describes therefore fail to establish

habit evidence.

       Moreover, the two police stops defendant Kueng offers pursuant to Rule 406 are not

sufficiently similar to each other to constitute habit evidence, even relying only on the

defendant’s description of them. In the May 2019 incident, defendant Kueng states that

Mr. Floyd “did not display any indication of being claustrophobic;” but in the August 2019

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incident, Mr. Floyd told the officers “he was claustrophobic” when they placed him in the

police car. ECF No. 171 at 1 (“When place[d] in the squad car, he was clearly not suffering

claustrophobia, although, as an aside he did claim he was claustrophobic . . . .”). See Jones,

2015 WL 1020811, at * 1 (explaining that “[c]ourts will deem putative habit evidence

inadmissible if the conduct is ‘not sufficiently regular or uniform’”).

       Finally, this Court should exclude the two 2019 police stops under Rule 403,

because evidence about two unrelated police interactions will serve only to confuse the

jury and waste time. As the evidence of both incidents includes video of Mr. Floyd being

stopped by the police, in one case being discovered in the possession of narcotics, and in

the other being in the company of a person suspected of unlawful possession of a firearm,

evidence of these incidents will also unfairly prejudice the government’s presentation of

its case by improperly impugning Mr. Floyd’s character while failing to provide any

probative value. See Cummings v. Malone, 995 F.2d 817, 824 (8th Cir. 1993) (affirming

exclusion of evidence, in excessive force lawsuit, that the inmate-victim had previously

assaulted a prison guard, reasoning that it might lead a jury to conclude that the victim

“deserved what he got” and to “decide the case on an improper basis”).

                                      III. Conclusion

       WHEREFORE, the government respectfully requests this Court exclude defendant

Kueng’s evidence relating to events on May 6, 2019, and August 6, 2019, because it does

not satisfy the requirements of Rules 404 and 406. The defendant’s proffered evidence

does not relate to a pertinent trait, is offered in an inadmissible form, does not constitute

habit evidence, and is irrelevant. Further, because it lacks any probative value and poses a

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substantial danger of unfair prejudice, confusing the issues, and wasting time, it is also

inadmissible under Rule 403.

Dated: January 10, 2022                         Respectfully submitted,

CHARLES J. KOVATS, JR.                          KRISTEN CLARKE
Acting United States Attorney                   Assistant Attorney General
                                                Civil Rights Division

/s/ Manda M. Sertich                            /s/ Samantha Trepel
BY: Manda M. Sertich                            BY: Samantha Trepel
Assistant United States Attorney                Special Litigation Counsel
Attorney No.: 4289039 NY                        Attorney No.: 992377 DC




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